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 5   Attorney for Defendant,
 6   SURINDER SINGH NIJJAR

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 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                              EASTERN DISTRICT OF CALIFORNIA, FRESNO
10
                                                 *****
11
12
     UNITED STATES OF AMERICA,                     ) Case No.: CR-F-04-5356 AWI
13                                                 )
                     Plaintiff,                    ) STIPULATION AND ORDER TO
14          vs.                                    ) SUBORDINATE PROPERTY BOND
15                                                 )
     SURINDER SINGH NIJJAR,                        )
16                                                 )
17                                                 )
                     Defendant.
                                                   )
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19
            IT IS HEREBY STIPULATED between the Defendant, SURINDER SINGH NIJJAR, by
20
21   and through his attorney-of-record, Anthony P. Capozzi, and Plaintiff, by and through Assistant

22   United States Attorney, Mark E. Cullers, that the property located at 23671 Avenue 19 1/2, Madera,
23
     California, posted as bond for the Defendant's pretrial release be subordinated in order for the
24
     defendant, SURINDER SINGH NIJJAR to purchase the adjoining property.
25
26          Mr. Nijjar was sentenced on June 21, 2008 before this court and is now awaiting appeal of
27
     his sentence.
28
             Case 1:04-cr-05356-AWI Document 557 Filed 01/21/09 Page 2 of 3


 1          On January 21, 2005 an original Deed of Trust was posted on behalf of the Defendant,

 2
     SURINDER SINGH NIJJAR, by Nijjar Brothers Farms (Deed of Trust Receipt No. 2005003128;
 3
     property address 23671 Avenue 19 1/2, Madera, California, 93638). The Straight Note and Deed
 4
 5   of Trust were posted in the amount of $1,000,000.00.

 6          It is further agreed that the loan shall not affect the $1,000,000.00 of equity in the property
 7
     previously posted for the Defendant's pretrial release.
 8
 9                                                     Respectfully submitted,
10   Dated: January 15, 2009
                                                            /s/ Anthony P. Capozzi
11
                                                       Anthony P. Capozzi,
12                                                     Attorney for Defendant,
                                                       SURINDER SINGH NIJJAR
13
14
15   Dated: January 15, 2009

16
                                                             /s/ Mark E. Cullers
17                                                     Mark E. Cullers,
                                                       Assistant U.S. Attorney
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              Case 1:04-cr-05356-AWI Document 557 Filed 01/21/09 Page 3 of 3


 1                                               ORDER

 2         Good cause having been shown, the property bond posted for SURINDER SINGH NIJJAR’s
 3   pretrial release shall be subordinated pursuant to the subordination agreement attached hereto as
 4   exhibit "A".
 5
 6   IT IS SO ORDERED.
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     Dated:    January 20, 2009                    /s/ Anthony W. Ishii
 8   0m8i78                               CHIEF UNITED STATES DISTRICT JUDGE

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